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         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY

         WOLLMUTH MAHER & DEUTSCH LLP                                                    Order Filed on June 23, 2023
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                                                                                         District of New Jersey
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         (Admitted pro hac vice)
         ATTORNEYS FOR DEBTOR
         In re:                                                          Chapter 11

         LTL MANAGEMENT LLC, 1                                           Case No.: 23-12825 (MBK)

                                     Debtor.                             Judge: Michael B. Kaplan

                                    ORDER GRANTING IN PART AND
                            DENYING IN PART DEBTOR’S MOTIONS TO COMPEL

                           The relief set forth on the following pages is hereby ORDERED.




DATED: June 23, 2023




     1
                  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
                  501 George Street, New Brunswick, New Jersey 08933.
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                This matter having come before the Court upon the Debtor’s Motion to Compel the

 Official Committee of Talc Claimants to supplement certain of its responses to Interrogatories

 [Dkt. 604] and by way of the Debtor’s Omnibus Motion to Compel identified Plaintiff firms to

 supplement certain responses to Debtor’s Interrogatories and Requests for Production [Dkt. 638]

 (collectively, the “Debtor’s Motions to Compel”), and opposition to the Debtor’s Motions to

 Compel having been filed by counsel for the TCC and a number of law firms representing Plaintiffs

 and the Court having reviewed the pleadings filed and having entertained oral argument on June

 2, 2023 and having rendered the rulings set forth in this Order,

        IT IS HEREBY ORDERED AS FOLLOWS:

                1.      With regard to the Debtor’s request for estimates prepared by the TCC as to

 the dollar value of the aggregate liability or estimates as to the amount that would be required to

 resolve liabilities in the tort system, the TCC is required to identify by June 23 at 2:00 p.m.,

 Prevailing Eastern Time, whether it has (i) estimates as to the dollar-value of the aggregate liability

 attributable to all or any subset of the Talc Claims and any documents related thereto (Interrogatory

 No. 2, Request for Production No. 2) and (ii) estimates of the dollar amount required to resolve all

 or any subset of the Talc Claims in the tort system and any documents related thereto (Interrogatory

 No. 4, Request for Production No. 4). The TCC is not required to provide a privilege log.

                2.      With regard to Debtor’s Interrogatory No. 10 the TCC shall advise the

 Debtor’s counsel by June 23 at 2:00 p.m., prevailing Eastern Time, whether it is in possession of

 additional facts which support the breach of fiduciary duty claims that are not included in the

 information provided to date, referenced in the interrogatory responses, or set forth in the draft
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 complaint attached to the TCC’s standing motion or in the TCC’s objection to the Debtor’s motion

 for a preliminary injunction.

                    3.       With regard to the Debtor’s Motion directed at plaintiff law firms seeking

 information on the total number of talc claimants represented by such firms, filed and unfiled, and

 any communications between the plaintiff firms on the one hand and any other law firm relating

 to the Debtor’s proposed settlement and documents in the law firms’ possession that bear on the

 Debtors’ financial distress, the Debtor’s Motion [Dkt. 638], be and is hereby granted in part as

 follows. With regard to claims for injury due to the use or exposure to talcum powder that had

 been sold or marketed or distribution by J&J or any of its affiliates, to the extent such documents

 are maintained by such firms, the firms are to produce by June 23 at 2:00 p.m., prevailing Eastern

 Time, a list showing the number of claims for which suit has been filed and claims they are

 handling for which a determination has been made to bring suit, but suit has not yet been brought.

 If no such list exists, to the extent a firm was served with interrogatories, the firms are to answer

 Interrogatory No. 1 by June 23 at 12:00 p.m., prevailing Eastern Time, and state the number of

 claims they are handling for which suit has been filed and the number of claims for which a

 determination has been made to bring suit, but suit has not yet been brought. 2 No individual

 namesor information need be provided. The balance of the Motion [Dkt. 638] be and is hereby

 denied.




 2
           Beasley Allen Law Firm and the Ruckdeschel Law Firm had already provided this information about filed
           and unfiled claims before the Debtor filed its Motion. Accordingly, the portion of this Order requiring the
           production of information regarding filed and unfiled claims does not apply to those two firms.
